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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA


 MISTY WHITE, et al.,

 On behalf of themselves and all others
 similarly situated,

                               Plaintiffs,

 v.

 [1] HON. PAUL HESSE, in his official
 capacity as Chief Judge of the 26th Judicial
 District, and
 [2] HON. KHRISTIAN STRUBHAR, in her
 official capacity as Special Judge in the
 Canadian County District Court,
                                                                  Case No. 5:19-cv-1145-JD
                               Defendants.




                PLAINTIFFS’ MOTION FOR EXTENSION OF TIME

       Plaintiffs move under Local Civil Rule 7.1(h) for an extension of time to respond to

Defendants’ motion to dismiss (ECF No. 65) to Thursday, January 6, 2022.

       1.      Plaintiffs’ response is currently due Tuesday, December 28, 2021.

       2.      This is Plaintiffs’ first motion to extend this deadline.

       3.      Plaintiffs request this extension because Plaintiffs’ counsel will be on

vacation for the winter holidays before and after the current deadline. An extension to

Thursday, January 6, 2022 will give counsel adequate time after returning to work to

finalize the response brief.

       4.      Defendants do not oppose this extension.
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       5.      This extension will not affect any deadlines in this case other than

Defendants’ deadline to file a reply brief.

       6.      Plaintiffs request an extension of time to respond to Defendants’ motion to

dismiss (ECF No. 65) to Thursday, January 6, 2022.

Respectfully Submitted,

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